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FOR THE WESTERN DISTRlCT OF TENNES§§EJ\]L \5 AH 9= |5

WESTERN DIVISION
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UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20420-Ml

KEITH BRYANT

Defendant(s)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Change of Plea Hearing on Friday, July 15, 2005
at 8:30 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Change
of Plea Hearing to Friday, July 22, 2005 at 10:45 a.m. with a trial date
of Monday, August l, 2005 at 9:30 a.m.

The period from July 15, 2005 through August 12, 2005 is excludable
under lB U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the ly day Of July, 2005.

-W> ‘(‘&Q

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

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ISTRIC COURT - WEERST DISTRICT TNNESSEE

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US DISTRICT COURT

